      Case 4:17-cv-00599 Document 25 Filed on 06/13/18 in TXSD Page 1 of 3




                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

STEVE GENE MORGAN,             §
     Plaintiff,                §
                               §
v.                             §
                               §
FLAGSTAR BANK, FSB;            §                          CIVIL NO. 4:17-cv-599
LAKEVIEW LOAN SERVICING,       §
LLC; M&T BANK; AND MORTGAGE    §
ELECTRONIC REGISTRATION        §
SYSTEMS, INC. (A.K.A. "MERS"), §
     Defendants.               §

               PLAINTIFF’S UNOPPOSED MOTION TO CONTINUE TRIAL

       Comes now Plaintiff Steve Gene Morgan, filing this unopposed Motion to Continue Trial

and in support hereof respectfully shows the Court as follows:

       1.      Plaintiff and Defendants are engaging in renewed discussions to ultimately resolve

the case without the need for a trial. The parties believe that the renewed discussions have a

substantial likelihood to result in settlement.

       2.      Plaintiff and Defendants believe a continuance of the current trial setting of July 2,

2018 at 9:00 a.m. for 4-6 months is in the best interest of the parties.

       3.      Plaintiff and Defendants are requesting this continuance not for the purposes of

delay but so justice may be served.




                                                  [1]
      Case 4:17-cv-00599 Document 25 Filed on 06/13/18 in TXSD Page 2 of 3




       WHEREFORE, the parties pray that the Court grant this Unopposed Motion for

Continuance, cancel the current trial scheduled for July 2, 2018, re-set the trial and associated

deadlines for 4-6 months, and for all other relief the Court deems appropriate.


                                             Respectfully Submitted,

                                             JEFFREY JACKSON & ASSOCIATES, PLLC

                                             /s/ Jeffrey C. Jackson
                                             Jeffrey Jackson
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                                             ATTORNEY FOR PLAINTIFF
                                             STEVE GENE MORGAN



                             CERTIFICATE OF CONFERENCE

       I hereby certify that I communicated with counsel for Defendants and he indicated he is in

agreement and unopposed to this motion for continuance.




                                             /s/ Jeffrey C. Jackson
                                             Jeffrey C. Jackson




                                                [2]
      Case 4:17-cv-00599 Document 25 Filed on 06/13/18 in TXSD Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that I submitted the foregoing to the clerk of the United States District Court,

Southern District of Texas using the electronic case filing system of the Court, and that I served all

counsel of record listed below in accordance with Federal Rule of Civil Procedure 5(b)(2) on June

13, 2018.


       Via CM/ECF

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                                               /s/ Jeffrey C. Jackson
                                               Jeffrey C. Jackson




                                                  [3]
